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     Attorneys for Hospital Plaintiffs
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     [Additional Counsel Listed on Signature Page]
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                                 UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
18                                       SAN FRANCISCO DIVISION
19
      SURGICAL INSTRUMENT SERVICE                    Lead Case No: 3:21-CV-03496-AMO
20    COMPANY, INC.,
                     Plaintiff,                      HOSPITAL PLAINTIFFS’ MOTION FOR
21          v.                                       LEAVE TO FILE OPPOSITION TO
22                                                   DEFENDANT’S MOTION FOR
      INTUITIVE SURGICAL, INC.,                      LIMITED SUPPLEMENTAL
23                   Defendant.                      DISCOVERY

24                                                   Date: September 26, 2024
                                                     Time: 2:00 p.m.
25                                                   Courtroom: 10, 19th Floor
                                                     Judge: Hon. Araceli Martínez-Olguín
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          HOSPITAL PLAINTIFFS’ MOTION FOR LEAVE TO FILE OPPOSITION TO DEFENDANT’S
                        MOTION FOR LIMITED SUPPLEMENTAL DISCOVERY
                                       3:21-CV-03496-AMO
       Case 3:21-cv-03496-AMO Document 247 Filed 08/26/24 Page 2 of 3



 1
                                  NOTICE OF MOTION AND MOTION
 2

 3          TO ALL COUNSEL OF RECORD:
 4
            PLEASE TAKE NOTICE that on September 26, 2024 at 2:00 p.m., or as soon thereafter as
 5
     this matter may be heard before the Honorable Araceli Martínez-Olguín, District Judge in the
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     United States District Court for the Northern District of California, at 450 Golden Gate Avenue,
 7
     Courtroom 10, 19th Floor, San Francisco, CA 94102, Plaintiffs in related Case No. 3:21-CV-03825
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     Larkin Community Hospital, Franciscan Alliance, Inc., and King County Public Hospital District
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     No. 1 DBA Valley Medical Center (collectively, “Hospital Plaintiffs”) hereby move the Court for
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     leave to file an opposition to Defendant Intuitive, Inc.’s (“Intuitive”) motion to reopen discovery in
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     the SIS Plaintiff action. While Intuitive did not reach out to Hospital Plaintiffs at all regarding its
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     motion, this motion for limited discovery will undoubtedly impact the Hospital Plaintiffs’ class
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     action, as the SIS and Hospital Plaintiffs’ actions have proceeded jointly on discovery from the
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     very start. Attached hereto as Exhibit A is Hospital Plaintiffs’ Memorandum in support of their
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     Opposition to Intuitive’s Motion. Hospital Plaintiffs have also attached Exhibits 1 – 9 in support of
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     Exhibit A, and the Declaration of Icee N. Etheridge, interim co-lead counsel for Hospital Plaintiffs.
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     Dated: August 26, 2024                                Respectfully submitted,
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                                                            /s/ Jeffrey J. Corrigan
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          HOSPITAL PLAINTIFFS’ MOTION FOR LEAVE TO FILE OPPOSITION TO DEFENDANT’S
                        MOTION FOR LIMITED SUPPLEMENTAL DISCOVERY
                                       3:21-CV-03496-AMO
     Case 3:21-cv-03496-AMO Document 247 Filed 08/26/24 Page 3 of 3



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        HOSPITAL PLAINTIFFS’ MOTION FOR LEAVE TO FILE OPPOSITION TO DEFENDANT’S
                      MOTION FOR LIMITED SUPPLEMENTAL DISCOVERY
                                     3:21-CV-03496-AMO
